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              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                       ATLANTA DIVISION



AMY ELIZABETH BARNES,                )
                                     )
           Plaintiff,                )
                                     )     CIVIL ACTION FILE
v.                                   )
                                     )     NUMBER 1:11-cv-3606-TCB
PUBLIX SUPER MARKETS, INC.,          )
et al.,                              )
                                     )
           Defendants.               )



                                ORDER

     This case is before the Court on Defendants’ motion for summary

judgment [25].


I.   Background

     On October 20, 2011, Amy Barnes filed this pro se action against her

former employer, Publix Super Markets, Inc., and two of her former

supervisors, Thomas Sayers and Kevin Kid. Barnes alleges that she suffers

from several disabilities and that Defendants violated the Americans with

Disabilities Act (“ADA”) by failing to make reasonable accommodations and
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by discriminating against her because of her disabilities. She also brings a

claim for “interference to economic relations,” as well as a claim under the

Fair Labor Standards Act (“FLSA”).

      On August 27, 2012, Defendants filed their motion for summary

judgment. On September 20, Barnes filed her response to the motion;

however, she failed to include a response to Defendants’ statement of

undisputed facts in accordance with Local Rule 56.1(B)(1)(2)(a).

      Barnes attached to her response brief a transcript of unemployment

proceedings held before the Georgia Department of Labor, and she argues

that this transcript establishes disputed issues of material fact sufficient to

defeat summary judgment. However, she did not include a statement of

additional material facts in accordance with Local Rule 56.1(B)(1)(2)(a).

Nor did she cite specific portions of the transcript in her response brief.

      Defendants argue that the Court should deem all of their facts

admitted as a result of Barnes’s failure to comply with Local Rule 56.1.

They further argue that the Court should refuse to consider the Georgia

Department of Labor transcript because it is inadmissible. However, in

light of Barnes’s pro se status, the Court will exercise its discretion to

consider the entire record in deciding this motion. See Fed. R. Civ. P.


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56(c)(3) (“The court need consider only the cited materials, but it may

consider other materials in the record.”). Moreover, the Court need not

decide the admissibility of the Department of Labor transcript because, as

discussed below, the transcript does not support Barnes’s claims. The

relevant facts will be set forth in the Court’s discussion below.


II.   Discussion

      Summary judgment is appropriate when “there is no genuine dispute

as to any material fact and the movant is entitled to judgment as a matter of

law.” FED. R. CIV. P. 56(a). There is a “genuine” dispute as to a material fact

if “the evidence is such that a reasonable jury could return a verdict for the

nonmoving party.” FindWhat Investor Grp. v. FindWhat.com, 658 F.3d

1282, 1307 (11th Cir. 2011) (quoting Anderson v. Liberty Lobby, Inc., 477

U.S. 242, 248 (1986)). In making this determination, however, “a court

may not weigh conflicting evidence or make credibility determinations of

its own.” Id. Instead, the court must “view all of the evidence in the light

most favorable to the nonmoving party and draw all reasonable inferences

in that party’s favor.” Id.

      “The moving party bears the initial burden of demonstrating the

absence of a genuine dispute of material fact.” Id. (citing Celotex Corp. v.

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Catrett, 477 U.S. 317, 323 (1986)). If the nonmoving party would have the

burden of proof at trial, there are two ways for the moving party to satisfy

this initial burden. United States v. Four Parcels of Real Prop., 941 F.2d

1428, 1437-38 (11th Cir. 1991). The first is to produce “affirmative evidence

demonstrating that the nonmoving party will be unable to prove its case at

trial.” Id. at 1438 (citing Celotex, 477 U.S. at 324). The second is to show

that “there is an absence of evidence to support the nonmoving party’s

case.” Id. (quoting Celotex, 477 U.S. at 323).

      If the moving party satisfies its burden by either method, the burden

shifts to the nonmoving party to show that a genuine issue remains for trial.

Id. At this point, the nonmoving party must “‘go beyond the pleadings,’ and

by its own affidavits, or by ‘depositions, answers to interrogatories, and

admissions on file,’ designate specific facts showing that there is a genuine

issue for trial.” Jeffery v. Sarasota White Sox, Inc., 64 F.3d 590, 593-94

(11th Cir. 1995) (quoting Celotex, 477 U.S. at 324).


      A.    ADA Claims

      Barnes brings claims under the ADA based on Defendants’ alleged

failure to reasonably accommodate her disability, disparate treatment of

her because of her disability, and retaliation against her because of her

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protected expression. Defendants argue that, as an initial matter, Kidd and

Sayers are entitled to summary judgment on these claims because there is

no individual liability under the ADA. Defendants further argue that they

are all entitled to summary judgment on these claims because Barnes has

failed to raise a genuine issue of fact as to the essential elements.


            1.    Individual Liability

      Defendants correctly note that “only the employer, not individual

employees, can be liable under the Americans with Disabilities Act.”

Mason v. Stallings, 82 F.3d 1007, 1009 (11th Cir. 1996). Barnes’s only

response to this argument is that it “assumes that the corporate veil cannot

be pierced through proof of qualifying actions that convert a corporate

Agent into a liable individual.” However, there are no facts in the record

that would support piercing the corporate veil or holding Kidd or Sayers

liable on a theory of alter-ego liability. Therefore, Kidd and Sayers are

entitled to summary judgment on Barnes’s ADA claims, and the Court will

proceed to address the merits of those claims only with respect to Publix.




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            2.    Discrimination Claims

      The ADA provides that “[n]o covered entity shall discriminate against

a qualified individual on the basis of disability in regard to job application

procedures, the hiring, advancement, or discharge of employees, employee

compensation, job training, and other terms, conditions, and privileges of

employment.” 42 U.S.C. § 12112(a). “Thus, the ADA prohibits ‘a broad

variety of adverse employment actions, whenever those actions are taken

for a prohibited reason.’” Doe v. DeKalb Cnty. Sch. Dist., 145 F.3d 1441,

1447 (11th Cir. 1998).

      The ADA further provides that the term “discriminate” includes “not

making reasonable accommodations to the known physical or mental

limitations of an otherwise qualified individual with a disability who is an

applicant or employee, unless such covered entity can demonstrate that the

accommodation would impose an undue hardship on the operation of the

business of such covered entity. 42 U.S.C. § 12112(b)(5)(A). In other

words, “an employer’s failure to reasonably accommodate a disabled

individual itself constitutes discrimination under the ADA . . . .” Holly v.

Clairson Indus., LLC, 492 F.3d 1247, 1262 (11th Cir. 2007).




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      In her complaint, Barnes alleges both disparate treatment and the

failure to provide reasonable accommodations. Thus, the Court construes

her complaint as bringing two different types of ADA discrimination claims

and will analyze those claims separately.



                  a.    Disparate Treatment

      ADA discrimination cases based on disparate treatment are subject to

the same burden-shifting framework as Title VII discrimination cases. Earl

v. Mervyns, Inc., 207 F.3d 1361, 1365 (2000).

      Under this familiar framework, a plaintiff must first establish a
      prima facie case of discrimination. The burden of production
      then shifts to the defendant who must articulate a legitimate
      non-discriminatory reason for the challenged employment
      decision. And finally, the plaintiff then bears the ultimate
      burden of persuasion that the defendant’s proffered reason is a
      pretext for discrimination.

Farley v. Nationwide Mut. Ins. Co., 197 F.3d 1322, 1333 (11th Cir. 1999).

To establish a prima facie case, the plaintiff must show that (1) she has a

disability, (2) she is a qualified individual, and (3) she suffered an adverse

employment action because of her disability. See Doe, 145 F.3d at 1445.

      In their motion for summary judgment, Defendants assume without

conceding that Barnes is a qualified individual with a disability. However,


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they contend that most of the actions Barnes complains of did not amount

to adverse employment actions, and those actions that could be considered

adverse employment actions were not taken because of her disability. They

further argue that even if Barnes has established a prima facie case, they

have proffered legitimate, non-discriminatory reasons for each potential

adverse employment action, and she has failed to produce any evidence

that those reasons are a pretext for disability discrimination.

      Barnes’s complaint alleges that Publix “treated [her] differently

because of her disability,” but it does not specify the ways in which she was

treated differently. In her response to Defendants’ motion for summary

judgment, Barnes identifies the following actions by Publix that could

constitute adverse employment actions: (1) her reassignment from a

customer service position to a cashier position, (2) micromanagement of

her job performance, (3) her suspension, (4) the blocking of her request to

transfer to a different Publix store, and (5) her resignation, which she

characterizes as a constructive termination.

      For purposes of their motion, Defendants assume without conceding

that Barnes’s reassignment and suspension were adverse employment

actions. Thus, the Court will do the same. However, Defendants contend


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that none of the other actions Barnes complains of constituted adverse

employment actions. The Court agrees.

      “An employment action is considered ‘adverse’ only if it results in

some tangible, negative effect on the plaintiff’s employment.” Lucas v.

W.W. Grainger, Inc., 257 F.3d 1249, 1261 (11th Cir. 2001). Other than her

reassignment and suspension, Barnes fails to identify any actions that meet

this threshold. First, even if she was managed more closely than other

employees because of her disability, and even if that scrutiny resulted in

informal discipline, that does not constitute adverse employment action

unless it had a tangible effect on her employment, such as “a loss of pay or

benefits or further discipline.” Davis v. Town of Lake Park, Fla., 245 F.3d

1232, 1240 (11th Cir. 2001). To the extent Barnes contends that this closer

scrutiny of her work resulted in her reassignment or suspension, the Court

will consider it in that context. However, standing alone, it does not

constitute adverse employment action. See Lucas, 257 F.3d at 1261

(“Negative performance evaluations, standing alone, do not constitute

adverse employment action . . . .”).

      Barnes also alleges that Defendants initially blocked her request to

transfer to a different Publix store and that once the transfer was approved,


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they failed to inform her of it. But even assuming Defendants committed

those actions, 1 they do not amount to adverse employment actions because

Barnes does not allege that the transfer would have resulted in a tangible

benefit to the terms of her employment, such as greater pay, benefits or

prestige. See Webb-Edwards v. Orange Cnty. Sheriff’s Office, 525 F.3d

1013, 1033 (11th Cir. 2008) (denial of transfer request not adverse

employment action where there would have been no increase in wage,

benefits or prestige).

      Finally, Barnes’s resignation was not an adverse employment action

because it did not amount to a constructive discharge. In order to show a

constructive discharge, Barnes must “demonstrate that working conditions

were so intolerable that a reasonable person in her position would have

been compelled to resign.” Durley v. APAC, Inc., 236 F.3d 651, 658 (11th

Cir. 2000) (quoting Poole v. Country Club of Columbus, Inc., 129 F.3d 551,

553 (11th Cir. 1997)) (internal quotation marks omitted).

      Barnes contends that her lack of income due to her suspension, as

well as her deteriorating working conditions, led her with no choice but to

      1Barnes argues that in the Georgia Department of Labor proceeding, Sayers
admitted to blocking her transfer. This is a misconstruction of Sayers’s testimony.
However, it makes no difference because even if Sayers blocked her transfer, that would
not support her ADA discrimination claim.

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resign. However, she was scheduled to return to work on the day of her

resignation, and although she had been disciplined on several occasions,

including her suspension, those disciplinary actions did not make her

working conditions “so intolerable that a reasonable person in her position

would have been compelled to resign.” Id. In fact, her letter of resignation

defies her position that her working conditions were intolerable. In the

letter Barnes stated, “I will resign from Publix Supermarkets on good terms

and wish to thank Tom Sayers, Kevin Kidd, and Pattie Simmons for their

excellent advice [and] coaching.” She further stated, “I wish all of my

friends [and] family at Publix the best of luck!”

      Moreover, “[a] constructive discharge will generally not be found if

the employer is not given sufficient time to remedy the situation.” Kilgore

v. Thompson & Brock Mgmt., Inc., 93 F.3d 752, 754 (11th Cir. 1996).

Barnes does not allege that she complained that her working conditions

were intolerable, or that she gave Publix an opportunity to remedy those

conditions. Instead, she resigned as soon as she returned from her




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suspension. In short, Barnes did not undergo a constructive discharge;

therefore, her resignation was not an adverse employment action. 2

      Turning to the two actions that actually may constitute adverse

employment actions, Barnes’s reassignment and suspension, Barnes has

failed to raise a disputed issue of fact as to whether those actions were

taken because of her disability; therefore, she has failed to establish a prima

facie case of discrimination under the ADA. Although Defendants were

apparently aware of Barnes’s disability at the time of these actions, Barnes

has failed to identify, and the Court has not found, any record evidence

showing that the adverse actions “occurred under circumstances which

raised a reasonable inference that the disability . . . was a determining

factor in [the employer’s] decision.” Wascura v. City of S. Miami, 257 F.3d

1238, 1242 (11th Cir. 2001). Therefore, Barnes has failed to establish a

prima facie case.

      2  Barnes contends that her resignation was found to be a constructive discharge
in her unemployment proceedings before the Georgia Department of Labor. However,
even if such a finding was made, it would have no bearing on this case. O.C.G.A. § 34-8-
122(b) (“Any finding of fact or law, judgment, determination, conclusion, or final order
made by an adjudicator, examiner, hearing officer, board of review, or any other person
acting under the authority of the Commissioner with respect to this chapter shall not be
admissible, binding, or conclusive in any separate or subsequent action or proceeding
between a person and such person's present or previous employer brought before any
court of this state or the United States or before any local, state, or federal
administrative agency, regardless of whether the prior action was between the same or
related parties or involved the same or similar facts.”).

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      Moreover, even assuming that Barnes could establish a prima facie

case, Defendants have proffered legitimate, non-discriminatory reasons for

each adverse action, and Barnes has failed to show that those reasons were

pretextual. Prior to her reassignment from a customer service position to a

cashier position, Barnes was disciplined on several occasions for making

inappropriate comments to customers and co-workers. She does not

dispute that customers and co-workers complained about her inappropriate

comments, and the Court finds that those complaints were a legitimate,

non-discriminatory reason for her reassignment. Moreover, she has failed

to raise any dispute as to whether Defendants’ proffered reason is

pretextual. Indeed, she admitted during her deposition that Pattie

Simmons, the customer service manager who recommended her

reassignment, always treated her fairly. Barnes Dep. 48, July 23, 2012.

      Shortly after her reassignment in October 2010, Barnes parked her

car in the Publix parking lot with a large sign in her rear window stating

that Bank of America owed her money, and a customer complained about

the sign. A few days later, a customer complained that Barnes had

criticized her for buying Capri Sun drinks for her family. A few days after

that, an associate reported that Barnes was complaining to customers at the


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cash register that Bank of America owed her money. Publix contends that

Sayers placed Barnes on suspension because of these inappropriate

interactions with customers. Barnes does not dispute that these complaints

were made, and she has failed to raise any dispute as to whether

Defendants’ proffered reasons for suspending her were pretextual.

     In sum, Barnes has failed to establish a prima facie case of ADA

discrimination because she has failed to show that she was subjected to any

adverse employment actions because of her disability. Moreover, even if

she could establish a prima facie case, Defendants have satisfied their

burden of articulating legitimate, non-discriminatory reasons for each

possible adverse employment action, and Barnes has failed to raise any

factual dispute as to whether those reasons are pretextual. Consequently,

Publix is entitled to summary judgment on Barnes’s ADA discrimination

claim.



                    b.   Failure to Accommodate

     Failure-to-accommodate claims are not subject to the same burden-

shifting framework as disparate-treatment claims. See Holly, 492 F.3d at

1362. “[A]n employer’s failure to reasonably accommodate a disabled


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individual itself constitutes discrimination under the ADA, so long as that

individual is ‘otherwise qualified,’ and unless the employer can show undue

hardship.” Id. There is no additional burden on the plaintiff to show

disparate treatment, or on the defendant to proffer legitimate, non-

discriminatory reasons for its actions, or on the plaintiff to show that those

reasons were pretextual. Id.

      In Holly, the Eleventh Circuit stated that a plaintiff bringing a failure-

to-accommodate claim must show that the failure to provide a reasonable

accommodation led to an adverse employment action that was, in effect,

because of her disability. Id. at 1263 n.17. However, this statement was

dicta, and such a requirement seems inconsistent with the statutory text

and Holly’s own conclusion that “an employer’s failure to reasonably

accommodate a disabled individual itself constitutes discrimination under

the ADA.” Id. at 1362. Moreover, the Court has not found an Eleventh

Circuit case that was actually decided on this ground, and other circuits

take a contrary position.

      The Seventh Circuit, for example, has held that an ADA plaintiff may

prevail by showing that “the employer took an adverse job action against

her because of her disability or failed to make a reasonable


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accommodation.” Feldman v. Olin Corp., 692 F.3d 748, 752 (7th Cir. 2012)

(quoting Stevens v. Ill. Dep’t of Transp., 210 F.3d 732, 736 (7th Cir. 2000)).

Similarly, the Third Circuit has held that “the failure to reasonably

accommodate a disabled and qualified employee constitutes an adverse

employment action for purposes of the ADA.” Turner v. Hershey

Chocolate USA, 440 F.3d 604, 611 n.4 (3d Cir. 2006). With no binding

authority in the Eleventh Circuit, the Court will follow this line of cases.

      Defendants contend that they are entitled to summary judgment on

Barnes’s failure-to-accommodate claim because she was provided all of the

reasonable accommodations she requested. However, they do not dispute

that on one occasion Barnes was not informed of a hard closing that was

announced over the public address system. 3

      The Court expresses no opinion as to whether Barnes actually

requested an accommodation with respect to the public address system,

whether the requested accommodation was reasonable and necessary to


      3  Barnes argues that in the Georgia Department of Labor proceeding, Kidd
admitted that Publix provided no reasonable accommodations. However, in her
response to Defendants’ motion for summary judgment, she admits that Publix met all
of her requests for reasonable accommodations outside of this one incident. Because
there is adequate evidence in the form of Barnes’s deposition testimony that this
incident occurred, the Court need not rely on the Department of Labor transcript or
determine its admissibility.

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perform an essential function of her job, or whether it would have imposed

an undue burden on Publix, because Defendants do not argue any of those

issues in their motion. However, to the extent Barnes’s failure-to-

accommodate claim is based on this one incident, Defendants have failed to

show that they are entitled to summary judgment. Therefore, Barnes’s

failure-to-accommodate claim against Publix will be allowed to proceed.


            3.    Retaliation Claim

      The ADA provides that “[n]o person shall discriminate against any

individual because such individual has opposed any act or practice made

unlawful by [the ADA] or because such individual made a charge, testified,

assisted, or participated in any manner in an investigation, proceeding, or

hearing under [the ADA].” 42 U.S.C. § 12203(a). This provision creates a

cause of action for retaliation, and retaliation claims brought under the

ADA are analyzed under the same framework as those brought under Title

VII. Stewart v. Happy Herman’s Cheshire Bridge, Inc., 117 F.3d 1278,

1287 (11th Cir. 1997). Thus, to establish a prima facie case of retaliation

under the ADA, “a plaintiff must show: (1) statutorily protected expression;

(2) adverse employment action; and (3) a causal link between the protected

expression and the adverse action.” Id.

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     Barnes argues that she engaged in statutorily protected expression by

complaining about her inability to hear the hard-closing announcement

over the public address system. She further argues that after she raised this

issue, she was subjected to several adverse actions, including reassignment,

suspension, and micromanagement.

     Even assuming that Barnes engaged in statutorily protected

expression and that she was subjected to adverse employment actions, she

has failed to make out a prima facie case of retaliation because she has not

shown a causal connection between her expression and those actions. At a

minimum, Barnes must show that the relevant decision-makers were aware

of her protected conduct. Clover v. Total Sys. Servs., Inc., 176 F.3d 1346,

1354 (11th Cir. 1999). However, the only record evidence that Barnes

complained to anyone in particular about her inability to hear the hard-

closing announcement is her testimony that she “may have discussed the

hard closings with [Steve McConnell].” Barnes Dep. 235:10-15. And there

is no evidence that McConnell was a decision-maker with respect to any of

the adverse actions taken against Barnes, nor is there any evidence that the




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actual decision-makers were aware of Barnes’s complaint to McConnell. 4

Therefore, Barnes has failed to make out a prima facie case of retaliation

under the ADA.

      Moreover, even assuming Barnes could make out a prima facie case,

Defendants would be entitled to summary judgment on her retaliation

claim. Under the ADA, retaliation claims are subject to the same burden-

shifting framework as discrimination claims. See Stewart, 117 F.3d at 1287.

“Once a prima facie case is established, the burden then shifts to the

defendant employer to come forward with legitimate non-discriminatory

reasons for its actions that negate the inference of retaliation.” Id. “The

plaintiff must then demonstrate that [she] will be able to establish at trial

that the employer’s proffered non-discriminatory reasons are a pretextual

ruse designed to mask retaliation.” Id. As discussed above, Defendants

have presented legitimate, non-discriminatory reasons for all of the adverse

actions taken against Barnes, and there is no evidence that those proffered

reasons are pretextual. Consequently, Publix will be granted summary

judgment on Barnes’s ADA retaliation claim.

      4  Kidd and Sayers are the only management personnel Barnes believes may have
retaliated against her. Barnes Dep. 261-63. However, there is no evidence that Barnes
complained to Kidd or Sayers about the hard-closing announcement, or that Kidd or
Sayers were aware of her complaints to other employees.

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      B.    Tortious Interference Claim

      Barnes also brings a claim for “interference to economic relations,”

which is in large part a rehashing of her ADA retaliation claim. However, to

the extent she seeks to bring a claim for tortious interference with economic

relations under Georgia law, Defendants are entitled to summary judgment

on that claim. To prevail, Barnes would have to show that “the defendant

(1) acted improperly and without privilege, (2) purposely and with malice

and intent to injure, (3) induced a third party or parties not to enter into or

continue a business relationship with [her], and (4) for which [she] suffered

some financial injury.” Project Control Servs., Inc. v. Reynolds, 545 S.E.2d

593, 598 (Ga. Ct. App. 2001).

      Barnes argues that she can prevail on this claim because Defendants

initially blocked her request to transfer to a different store and then failed

to inform her after the request was approved. However, even accepting that

as true, Defendants did not induce a third party to not enter into a business

relationship with her. First, there was no third party involved, as Barnes

merely sought a transfer to another Publix store. And second, the only

thing that kept Barnes from transferring was her own decision to resign.




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Consequently, Defendants will be granted summary judgment on Barnes’s

tortious interference claim.


      C.    FLSA Claim

      Barnes also brings a claim under the Fair Labor Standards Act

(“FLSA”), under which she alleges that she “was made to suffer punitive

actions for her exercise of her rights to discuss job conditions and working

environments with others present at the work place, and to object to ill

treatment and discrimination from her management team at Publix

Supermarkets.” This seems to be little more than a rehashing of her ADA

retaliation claim. The FLSA does not address such issues; rather, it allows

employees to recover unpaid wages if their employer violates its minimum-

wage or overtime provisions. 29 U.S.C. § 216(b). However, to the extent

Barnes seeks to recover unpaid wages under the FLSA, Defendants are

entitled to summary judgment on that claim.

      Elsewhere in her complaint, Barnes alleges that she “was instructed

by Thomas Sayers that unpaid behavior off-the-clock is a condition of

employment.” During her deposition, she clarified that this allegation

refers to “the requirement as handed down directly by Tom Sayers that I

refrain from saying any controversial or upsetting things that could offend

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anyone, and I mean in my own personal car, in my house, outside, and way

from Publix.” Barnes Dep. 295-96. In her response to Defendants’ motion

for summary judgment, she implies that this is the allegation upon which

her FLSA claim is based. Specifically, she argues that she “is not owned by

Publix and is not paid for 24-hour conduct in a manner that would fulfill

the requirements of minimum wage for 24 hours and / or OT, so the issue

of a FLSA claim should rest with a Jury.”

     Under the FLSA, work is construed “to mean all activities ‘controlled

or required by the employer and pursued necessarily and primarily for the

benefit of [the] employer and his business.’” Dade Cnty., Fla. v. Alvarez,

124 F.3d 1380, 1384 (11th Cir. 1997) (quoting Tenn. Coal, Iron & R.R. Co. v.

Muscoda Local No. 123, 321 U.S. 590, 598 (1944)). “Whether an off-duty

activity is conducted predominately for the benefit of the employer depends

on the degree to which an employee’s freedom is undermined by the work-

related activity.” Id. “[A]n employee’s free time must be severely restricted

for off-time to be construed as work time for purposes of the FLSA.” Id.

(quoting Birdwell v. City of Gadsden, Ala., 970 F.2d 802, 810 (11th Cir.

1992)). For example, the Eleventh Circuit has held that police officers’ meal

breaks were not compensable because the officers were “free to spend their


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meal breaks in any way they wish so long as they remain in uniform, leave

their radios on, and do not leave the jurisdiction.” Avery v. City of

Talladega, Ala., 24 F.3d 1337, 1347 (11th Cir. 1994).

       In this case, there is insufficient evidence for a reasonable jury to

conclude that Barnes’s off-the-clock time was so severely restricted that it

was spent predominantly for the benefit of Publix. Even if Publix had a

code of conduct that applied to Barnes at all times, she was otherwise free

to spend her off-the-clock time in any way she chose. Therefore, that time

was not compensable under the FLSA, and Defendants are entitled to

summary judgment on Barnes’s FLSA claim.


III.   Conclusion

       Defendants’ motion for summary judgment [25] is GRANTED IN

PART AND DENIED IN PART.

       The motion [25] is GRANTED with respect to all of Plaintiff’s claims

against Defendants Thomas Sayers and Kevin Kidd. Pursuant to Federal

Rule of Civil Procedure 54(b), the Court finds no just reason for delay.

Therefore, the Clerk is DIRECTED to enter final judgment in favor of

Sayers and Kidd on all of Plaintiff’s claims.



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      The motion [25] is DENIED with respect to Plaintiff’s failure-to-

accommodate claim against Defendant Publix Super Markets, Inc., but

GRANTED with respect to all of Plaintiff’s other claims against Publix.

Pursuant to Local Rule 16.4, the Publix and Barnes’s proposed consolidated

pretrial order is due thirty days after the date of this order.

      IT IS SO ORDERED this 22nd day of March, 2013.




                                            Timothy C. Batten, Sr.
                                            United States District Judge




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